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17
                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
19
                                   WESTERN DIVISION
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     MS. J.P., MS. J.O., AND MS. R.M., on       Case No. 2:18-cv-06081-JAK-SK
21   behalf of themselves and all others
     similarly situated,
22
                 Plaintiffs,                    JOINT STATEMENT REGARDING
23                                              SETTLEMENT DISCUSSIONS AND
           v.                                   LODGING OF MS. L. SETTLEMENT
24                                              AGREEMENT PURSUANT TO
     MATTHEW G. WHITAKER, ACTING                COURT’S JANUARY 7, 2019 ORDER
25   ATTORNEY GENERAL, ET AL.,
                                                Assigned to the Hon. John A. Kronstadt
26               Defendants.
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 1     JOINT STATEMENT REGARDING SETTLEMENT DISCUSSIONS AND
              LODGING THE MS. L. SETTLEMENT AGREEMENT
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 3      A. Plaintiffs’ Statement
 4      It is productive for counsel to discuss settlement of this action both at this time and
 5   in future stages of this case, and Plaintiffs respectfully request appointment of a bench
 6   officer. In light of the ongoing lapse in appropriations, Plaintiffs are amenable to the
 7   mediation between counsel taking place in Washington, D.C. at a time convenient for
 8   the appointed officer, or by video conference. Plaintiffs are committed to
 9   participating in good-faith direct settlement discussions both before and, if necessary,
10   after the scheduled mediation.
11      Plaintiffs hope that direct discussions between counsel will prove fruitful and are
12   committed to negotiating in good faith with Defendants to determine whether a
13   negotiated resolution is possible. However, for the reasons set forth in Plaintiffs’
14   Motion for Preliminary Injunction (ECF No. 45), Plaintiffs and Class Members will
15   suffer irreparable injury without the preliminary relief sought, and therefore do not
16   believe that rulings on Plaintiffs’ fully briefed and heard Motion for Preliminary
17   Injunction (ECF No. 45) and Motion for Class Certification (ECF No. 81) should be
18   deferred pending settlement discussions. Plaintiffs respectfully request that the Court
19   rule on these motions as soon as it deems it advisable to do so.
20      Contrary to Defendants’ claims, Plaintiffs’ Motion for Preliminary Injunction and
21   Motion for Class Certification are far from moot. Recently, the National Research
22   Center on Hispanic Children and Families reported:
23         x “Abundant evidence shows that forceful separation from parents is harmful
24            for children in the short term and over time.”
25         x “Children separated from a primary caregiver without preparation or
26            explanation experience traumatic stress that can be toxic to the brain.”
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 1         x “[P]arents’ own experiences of distress and traumatization can disrupt their
 2             immediate and long-term well-being and may impede their ability to buffer
 3             their children’s suffering.”
 4   See http://www.hispanicresearchcenter.org/publications/applying-child-development-
 5   research-to-immigration-policy/ (last visited January 14, 2019). Efforts, if any, by
 6   counsel, in this or other litigation arising out of the unconscionable Family Separation
 7   Policy, to obtain mental health care screening and treatment for named plaintiffs and
 8   other persons on an individual basis do not moot Plaintiffs' request or the need for
 9   classwide relief.
10      In an effort to drive this case towards a timely resolution, and following the
11   parties’ unsuccessful settlement discussions culminating in December, Plaintiffs
12   served initial discovery requests on Defendants on January 10, 2019. See Plaintiffs’
13   Request for Production of Documents, Ex. A. Pursuant to Fed. R. Civ. P. 34,
14   Defendants’ responses are due on February 11, 2019. Plaintiffs are willing to agree to
15   a reasonable extension of time to answer and produce documents in response to these
16   requests if specific information is temporarily inaccessible. However, Plaintiffs do
17   not consent to a blanket stay of discovery deadlines because of the lapse in
18   appropriations for the same reasons the Court did not stay hearing the motion to
19   dismiss. Defendants’ repeated reliance on the lapse in appropriations to justify
20   delaying preliminary injunctive relief and discovery focused on the ultimate merits of
21   this action discount this Court’s finding that “[t]his matter presents certain issues that
22   concern ‘emergencies involving the safety of human life.” Dkt. 173.
23         Pursuant to Local Rule 5-1, lodged herewith are the following documents filed
24   in M.M.M., et al. v. Sessions, et al. (Case No. 3:18-cv-1832-DMS, USDC, Southern
25   District of California):
26      x Exhibit B: Settlement Agreement (Plan to Address the Asylum Claims of Class-
27         Member Parents and Children Who are Physically Present in the United States
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 1         & The Return of Removed Parents to the United States), filed September 12,
 2         2018;
 3      x Exhibit C: Order Certifying the Settlement Classes and Granting Final
 4         Approval of Class Action Settlement, filed November 15, 2018.
 5      B. Defendants’ Statement
 6         Defendants agree that settlement should proceed before a Court-appointed
 7   bench officer. Although Plaintiffs offer to conduct settlement talks in Washington,
 8   D.C., Defendants understand that the appointed bench officer may prefer, or require,
 9   that such negotiations occur within the Central District of California, with all parties
10   appearing in person. Defendants will defer to the appointed bench officer’s
11   preferences and requirements. To the extent that the bench officer so prefers, or
12   requires, Defendants will endeavor to appear in person, and with agency
13   representatives present or available via telephone, as that is Defendants’ preferred
14   means of conducting such sensitive discussions. The ongoing lapse in government
15   appropriations, however, renders such travel difficult for Defendants and their agency
16   representatives at this time. Once settlement talks are scheduled, and the bench
17   officer’s preferences and requirements made known, Defendants will revisit the
18   attendant details.
19         Defendants also ask that the Court, as offered, defer ruling on the pending
20   motions, and stay all discovery until settlement talks have been completed.
21   Defendants also intend to soon file a separate motion to stay discovery based on the
22   proposed settlement discussions, the ongoing appropriations lapse, and other
23   considerations. A similar motion was granted in Ms. L.
24         Defendants respectfully submit that the Court deferring ruling on the pending
25   motions, and staying discovery, provides an incentive to all parties to settle this
26   matter. While the Court indicated during the Motion to Dismiss hearing a likelihood
27   of denying Defendants’ Motion to Dismiss, Defendants submit that the numerous and
28   meritorious arguments in favor of dismissal remain viable. The same is true of the
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 1   pending class certification and preliminary injunction motions, especially given that
 2   the proper scope of the putative class here is coextensive with the Ms. L. class,
 3   notwithstanding the minor differences in the respective language of the two classes’
 4   definitions,1 a class from which Plaintiffs cannot opt out, and the named Plaintiffs
 5   have all been released and reunited with their children. Contrary to Plaintiffs’
 6   contentions, Plaintiffs do not suffer irreparable harm without preliminary relief. As
 7   made apparent by the Ms. L. counsel’s efforts, they have obtained pro bono mental
 8   health services for numerous class members, for which they have stated an intention to
 9   seek monetary relief to reimburse providers, and the Government has funded a grant
10   to provide such services, too, through the HHS’s SAMSHA grant program. Plaintiffs’
11   request for production of documents makes all the more apparent the duplicative
12   nature of these cases, seeking any and all discovery produced in similar cases. See
13   Plaintiffs’ Request for Production of Documents, Ex. A.
14          Further, the financial and workload cost of conducting discovery, which in this
15   case involves multiple government agencies, many of which are subject to the
16   ongoing appropriations lapse, present expenses and logistical challenges that are
17   unnecessary while settlement discussions are ongoing. Indeed, many of the
18   individuals likely to possess relevant information and documents remain furloughed.
19   Conducting such partial discovery while these individuals are unavailable would
20   require subsequent and repeated updates and in general sow confusion.2 Subjecting
21   Defendants to discovery while settlement talks are ongoing, and especially while the
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       See Third Joint Report, ECF No. 168 at 2 and n.2.
       Plaintiffs could have commenced discovery in September, but instead waited four
24   months and filed their first discovery requests while Defendants are in the midst of the
     longest government shutdown in history, trying to respond to this Court’s Orders, and
25   preparing for mediated settlement discussions. The Court also has not yet held the
     Rule 16 Scheduling Hearing, as it deferred that matter in September; and at the
26   Motion to Dismiss hearing, Plaintiffs provided conflicting trial schedule dates.
     Although the rules permit discovery to commence before the scheduling hearing,
27   given the complexity of this matter, such discussions and a scheduling order are
     warranted before class-wide discovery should proceed.
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 1   Government lacks appropriations, thus substantially deters and undermines
 2   meaningful resolution of this matter, given that this requires diverting limited
 3   personnel and resources to discovery and other litigation duties.3 Defendants therefore
 4   ask that the Court, as offered, defer ruling on the pending motions, and stay discovery,
 5   pending the outcome of settlement discussions.
 6            Regarding Defendants’ position about lodging the partial-settlement agreement
 7   in the Ms. L. litigation, Defendants acknowledge that a final settlement was reached
 8   on the asylum-related claims (Claim III) in the Ms. L. litigation. The settlement was
 9   approved by the Ms. L. Court in November and that agreement is a publicly-available
10   document. Thus, Defendants do not object to the lodging of that publicly-filed
11   settlement agreement.
12            Contrary to Plaintiffs’ counsel’s arguments at the hearings on September 20,
13   2018 and January 7, 2019, that settlement agreement does not eliminate the
14   duplicative nature of proceeding in this case. Instead, the settlement does not involve
15   the due process claims raised by the Ms. L. Plaintiff-Class, which includes the named
16   Plaintiffs and proposed class members in the instant case, and those issues remain to
17   be litigated in Ms. L.
18
         Dated: January 14, 2019                    /s/ Amy P. Lally
19                                                  Amy P. Lally
                                                    Attorneys for Plaintiffs
20
21       Dated: January 14, 2019                    /s/ Michael Heyse
22                                                  Michael Heyse
                                                    Attorneys for Defendants
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      If the Court issues a preliminary injunction or certifies a class, Defendants would
27   need to consider and possibly seek authorization for an expedited appeal. Such
     activities and attendant judicial resources would be rendered unnecessary in the event
28   of a settlement.
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 1                                      ATTESTATION
 2         I hereby attest that the other signatory listed, on whose behalf this filing is
 3   submitted, concurs in the filing’s content and has authorized the filing.
 4
 5   Dated: January 14, 2019                         /s/ Amy P. Lally
                                                     Amy P. Lally
 6                                                   Attorneys for Plaintiffs
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